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                                               Exhibit A
   Plaintiff Name                              Cause Number    Lead Counsel
   Snelson, Nicholas & Davis                   1:16-cv-03272   FLINT COOPER, LLC
   Johnson, Loreen                             1:16-cv-03290   FLINT COOPER, LLC
   Johnson, James                              1:16-cv-03348   FLINT COOPER, LLC
   Dodd, Helene [ESTATE]                       1:17-cv-00537   FLINT COOPER, LLC
   Speizer, Allyson & Scott                    1:17-cv-01045   FLINT COOPER, LLC
   Sparks, Signa                               1:17-cv-01112   MCSWEENEY LANGEVIN LLC
   Bostick, David & Deborah                    1:17-cv-01280   FLINT COOPER, LLC
   Hardy, Nancy                                1:17-cv-01286   FLINT COOPER, LLC
   Verrier, Meghann & Justin                   1:17-cv-01375   FLINT COOPER, LLC
   Jones, Bruce & Kristi                       1:17-cv-01376   FLINT COOPER, LLC
   Socci, Richard                              1:17-cv-01509   FLINT COOPER, LLC
   Kerns, Henry and Betty                      1:17-cv-02056   FLINT COOPER, LLC
   Blanton, James and Judith                   1:17-cv-02059   FLINT COOPER, LLC
   Vela, Valentin and Mary                     1:17-cv-02189   FLINT COOPER, LLC
   Layel, Valerie White & George Timothy III   1:17-cv-02193   FLINT COOPER, LLC
   Hardy, Mary                                 1:17-cv-02243   FLINT COOPER, LLC
   Olson, Michelle                             1:17-cv-02244   FLINT COOPER, LLC
   Ferguson, David E. and Barbara              1:17-cv-02248   FLINT COOPER, LLC
   Santana, Frank                              1:17-cv-02316   FLINT COOPER, LLC
   Goodwin, Tina                               1:17-cv-02412   FLINT COOPER, LLC
   Dunbar, Angela                              1:17-cv-02676   MCSWEENEY LANGEVIN LLC
   Young, Tiffany                              1:17-cv-02711   MCSWEENEY LANGEVIN LLC
   Rios, Ernestine                             1:17-cv-02712   MCSWEENEY LANGEVIN LLC
   Phillips, William C.                        1:17-cv-02915   FLINT COOPER, LLC
   Stevens, Burma and Eunice                   1:17-cv-02916   FLINT COOPER, LLC
   Bernstein, Marlene                          1:17-cv-02973   FLINT COOPER, LLC
   Thomas, Donna J. and Eric                   1:17-cv-02976   FLINT COOPER, LLC
   Coons, Summer                               1:17-cv-03497   FLINT COOPER, LLC
   Ervin, Clyde Jr.                            1:17-cv-03606   FLINT COOPER, LLC
   Davidson, Ronald and Victoria               1:17-cv-04164   FLINT COOPER, LLC
   Lighty, George                              1:17-cv-04341   FLINT COOPER, LLC
   Fraley, Barbara and Myrlon                  1:17-cv-04344   FLINT COOPER, LLC
   Escoe, Karen                                1:17-cv-04580   FLINT COOPER, LLC
   Simmons, Janet (Tulip)                      1:18-cv-00231   FLINT COOPER, LLC
   Gomez, Daliris and Leon                     1:18-cv-00257   FLINT COOPER, LLC
   Hayes, Jacqueline and Robert                1:18-cv-00259   FLINT COOPER, LLC
   Harper, Susan                               1:18-cv-00299   FLINT COOPER, LLC
   Terry, Rose and Curtis                      1:18-cv-00300   FLINT COOPER, LLC

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  Exhibit A

   Morris, Marie                                  1:18-cv-00334    FLINT COOPER, LLC
   Jones, Randy                                   1:18-cv-00355    FLINT COOPER, LLC
   Capps, Robert and Patsy (ESTATE OF)            1:18-cv-00357    FLINT COOPER, LLC
   Hanna, Cynthia and Robert                      1:18-cv-00364    FLINT COOPER, LLC
   Culver, Timothy                                1:18-cv-00453    FLINT COOPER, LLC
   Phillips, Ara                                  1:18-cv-00454    FLINT COOPER, LLC
   Young, Patricia Ann & James                    1:18-cv-00499    FLINT COOPER, LLC
   Frazier, Anthony                               1:18-cv-00501    FLINT COOPER, LLC
   *Atwell, Charmaine                             1:18-cv-00508    JOHNSON LAW GROUP
   Mast, Edward & Valerie                         1:18-cv-00541    FLINT COOPER, LLC
   Giovannetti, Ruth                              1:18-cv-00544    FLINT COOPER, LLC
   *Hayden, Betty and Jimmie                      1:18-cv-00602    FLINT COOPER, LLC
   Brown, Cheryl A.                               1:18-cv-00627    FLINT COOPER, LLC
   Newbeck, Daniel                                1:18-cv-00667    FLINT COOPER, LLC
   *Sills,Toby and Sheila                         1:18-cv-00725    FLINT COOPER, LLC
   *Barbour, Sharon and Myron                     1:18-cv-00765    FLINT COOPER, LLC
   Key, Natalie                                   1:18-cv-01008    FLINT COOPER, LLC
   Thomas, Michael Patrick [ESTATE OF]            1:18-cv-01024    FLINT COOPER, LLC
   Jackson, Julia [ESTATE OF]                     1:18-cv-01147    FLINT COOPER, LLC
   Wiljer, Frank and Donna                        1:18-cv-01717    FLINT COOPER, LLC
   Satterfield, Tippy                             1:18-cv-02131    JOHNSON LAW GROUP
   *Coleman, Adam Sr. and Rose                    1:18-cv-02143    FLINT COOPER, LLC
   Morfitt, Patricia                              1:18-cv-02253    FLINT COOPER, LLC
   Pancoast, Robert and Lana                      1:18-cv-02359    FLINT COOPER, LLC
   Bruno, Mark T.                                 1:18-cv-02421    FLINT COOPER, LLC
   Walker, Pless                                  1:18-cv-02492    JOHNSON LAW GROUP
   Patterson, James                               1:18-cv-02554    THE GOETZ LAW FIRM, INC.
   Delk, Lisa                                     1:18-cv-02720    JOHNSON LAW GROUP
   Martin, Judy R.                                1:18-cv-02977    FLINT COOPER, LLC
   Herzig, Kenneth                                1:18-cv-03076    JOHNSON LAW GROUP
   Bartlett, Kathy                                1:18-cv-03241    JOHNSON LAW GROUP
   *Richard, Christine                            1:18-cv-03620    JOHNSON LAW GROUP
   Colley, Franklin Mason (ESTATE OF)             1:19-cv-00179    FLINT COOPER, LLC
   Holeman, Willie Mae                            1:19-cv-00214    FLINT COOPER, LLC
   Stewart, Donald                                1:19-cv-00608    JOHNSON LAW GROUP
   Devine, Kelly                                  1:19-cv-00811    FLINT COOPER, LLC
   Vandegenachte, Jamee                           1:19-cv-01134    JOHNSON LAW GROUP
   Bowens-Johnson, Autumne (ESTATE OF)            1:19-cv-01398    FLINT COOPER, LLC
   Turk, Helen                                    1:19-cv-01497    FLINT COOPER, LLC
   Carvin, William                                1:19-cv-01724    JOHNSON LAW GROUP
   Henninger, Katie S.                            1:19-cv-01914    FLINT COOPER, LLC


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  Exhibit A

   Wills, Diana                                   1:19-cv-02008    MCSWEENEY LANGEVIN LLC
   Cuozzo, Doreen                                 1:19-cv-02009    MCSWEENEY LANGEVIN LLC
   Scarlavai, Richard and Blair, Mary             1:19-cv-02019    FLINT COOPER, LLC
   Curry, Tracy                                   1:19-cv-02131    MCSWEENEY LANGEVIN LLC
   Woods, John (RI)                               1:19-cv-02160    MCSWEENEY LANGEVIN LLC
   Blackmore, Richard                             1:19-cv-02274    JOHNSON LAW GROUP
   Turner, Maryanne and Daryl                     1:19-cv-02329    FLINT COOPER, LLC
   Elloie, John                                   1:19-cv-02330    MCSWEENEY LANGEVIN LLC
   Rozell, Curtis L.                              1:19-cv-02334    FLINT COOPER, LLC
   Capers, Arthur and Sharon                      1:19-cv-02447    FLINT COOPER, LLC
   Flink, Donald                                  1:19-cv-02455    JOHNSON LAW GROUP
   Dunn, Marilyn                                  1:19-cv-02459    MCSWEENEY LANGEVIN LLC
   Miller, Kenneth and G. Annette                 1:19-cv-02569    FLINT COOPER, LLC
   Garcia, Patricia M. and Federico               1:19-cv-02616    FLINT COOPER, LLC
   Otis, Glen                                     1:19-cv-02700    MCSWEENEY LANGEVIN LLC
   Townsel, Arthur                                1:19-cv-02701    FLINT COOPER, LLC
   Griffith, Anthony                              1:19-cv-02706    FLINT COOPER, LLC
   Brown, Randall                                 1:19-cv-02793    FLINT COOPER, LLC
   Rhodes, Nadine                                 1:19-cv-02839    FLINT COOPER, LLC
   Robinson, William (MS)                         1:19-cv-02857    JOHNSON LAW GROUP
   Petrarca, William                              1:19-cv-02891    FLINT COOPER, LLC
   Olson, Shelli Jo                               1:19-cv-02899    FLINT COOPER, LLC
   Becker, Tanya [ESTATE OF]                      1:19-cv-02904    FLINT COOPER, LLC
   Holder, Leann                                  1:19-cv-02943    FLINT COOPER, LLC
   Brown, Lajuan                                  1:19-cv-02945    FLINT COOPER, LLC
   Fearon, Lorna                                  1:19-cv-02977    FLINT COOPER, LLC
   Patterson, Eldona L. and James                 1:19-cv-02978    FLINT COOPER, LLC
   Smith, Julie Kay                               1:19-cv-03001    FLINT COOPER, LLC
   Humphrey, Paula and Thomas                     1:19-cv-03041    FLINT COOPER, LLC
   Hopkins, Ronald                                1:19-cv-03054    FLINT COOPER, LLC
   Fauntleroy, Pamela D. [ESTATE OF]              1:19-cv-03055    FLINT COOPER, LLC
   Piller, Ethel                                  1:19-cv-03098    FLINT COOPER, LLC
   Inman, Randy and Melody                        1:19-cv-03099    FLINT COOPER, LLC
   Menard, Shelia                                 1:19-cv-03108    FLINT COOPER, LLC
   McCline, Eula                                  1:19-cv-03234    FLINT COOPER, LLC
   Pasley, Wilmer [ESTATE OF]                     1:19-cv-03257    FLINT COOPER, LLC
   *Baker, Robert                                 1:19-cv-03264    MCSWEENEY LANGEVIN LLC
   Caron, Jerry J. [ESTATE OF]                    1:19-cv-03266    FLINT COOPER, LLC
   Reinstein, Lillian                             1:19-cv-03271    MCSWEENEY LANGEVIN LLC
   Kirtley, Freda                                 1:19-cv-03295    MCSWEENEY LANGEVIN LLC
   Shirley, Amy                                   1:19-cv-03333    JOHNSON LAW GROUP


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   Rasuli, Sulimon                        1:19-cv-03508   FLINT COOPER, LLC
   Zerfoss, Timothy                       1:19-cv-03509   FLINT COOPER, LLC
   Stachowski, Richard W. and Londa       1:19-cv-03510   FLINT COOPER, LLC
   Stamey, Shirley [ESTATE OF]            1:19-cv-03511   FLINT COOPER, LLC
   Long, Karla S.                         1:19-cv-03512   FLINT COOPER, LLC
   Brand, Kathern A. and Robert C.        1:19-cv-03564   FLINT COOPER, LLC
   Santiesteban, Benigno                  1:19-cv-03566   FLINT COOPER, LLC
   Palmieri, Eva                          1:19-cv-03568   FLINT COOPER, LLC
   Stanley, Leon                          1:19-cv-03608   FLINT COOPER, LLC
   Morning, Irene                         1:19-cv-03609   JOHNSON LAW GROUP
   Porritt, Dawn [ESTATE OF]              1:19-cv-03650   MCSWEENEY LANGEVIN LLC
   Robinson, Sonya K.                     1:19-cv-03657   FLINT COOPER, LLC
   Luck, James                            1:19-cv-03675   JOHNSON LAW GROUP
   Barbosa, Humberto                      1:19-cv-03710   FLINT COOPER, LLC
   Robles, Norma                          1:19-cv-03716   FLINT COOPER, LLC
   Peterson, Kathryn E. and Steve         1:19-cv-03770   FLINT COOPER, LLC
   Jones, Jeffrey Lee                     1:19-cv-03777   MCSWEENEY LANGEVIN LLC
   LeFort, Lorraine A. & Ed               1:19-cv-03785   FLINT COOPER, LLC
   Gajewski, Arlene B.                    1:19-cv-03818   FLINT COOPER, LLC
   Lanehart, Marcia C.                    1:19-cv-03837   FLINT COOPER, LLC
   Knox, Maxine E.                        1:19-cv-03938   MCSWEENEY LANGEVIN LLC
   Macnaughton, Lutora                    1:19-cv-03965   JOHNSON LAW GROUP
   Fonseca, Lourdes                       1:19-cv-04080   JOHNSON LAW GROUP
   Tenney, John                           1:19-cv-04106   JOHNSON LAW GROUP
   Johnson, Sharon (PA)                   1:19-cv-04107   JOHNSON LAW GROUP
   Mayle, Roxie M. and Jeffrey            1:19-cv-04150   FLINT COOPER, LLC
   Womack, General III                    1:19-cv-04195   MCSWEENEY LANGEVIN LLC
   Bolton, Deborah                        1:19-cv-04200   MCSWEENEY LANGEVIN LLC
   Myers, Allen                           1:19-cv-04207   MCSWEENEY LANGEVIN LLC
   Schaff, Janet                          1:19-cv-04209   MCSWEENEY LANGEVIN LLC
   League, Wesley                         1:19-cv-04271   MCSWEENEY LANGEVIN LLC
   Holbert, Peter L.                      1:19-cv-04473   FLINT COOPER, LLC
   Ballentine, John                       1:19-cv-04499   FLINT COOPER, LLC
   Peppers, Linda D. and Phillip          1:19-cv-04500   FLINT COOPER, LLC
   Powers, Jeffrey P.                     1:19-cv-04501   FLINT COOPER, LLC
   Hills, Charly                          1:19-cv-04515   FLINT COOPER, LLC
   Brown, William (TX)                    1:19-cv-04608   FLINT COOPER, LLC
   Tallamon, Kevin W.                     1:19-cv-04614   FLINT COOPER, LLC
   Monroe, Orse                           1:19-cv-04620   FLINT COOPER, LLC
   Myles, Eugene and Catherine            1:19-cv-04630   FLINT COOPER, LLC
   Torrence, Steven D.                    1:19-cv-04637   FLINT COOPER, LLC


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  Exhibit A

   Wright, Scott W.                               1:19-cv-04683    FLINT COOPER, LLC
   Brady, Kim M. and Michael                      1:19-cv-04690    FLINT COOPER, LLC
   *Wetherill, Ruth                               1:19-cv-04725    JOHNSON LAW GROUP
   Sokoloff, Sara and Mark                        1:19-cv-04793    FLINT COOPER, LLC
   Shy, Thomas                                    1:19-cv-04794    MCSWEENEY LANGEVIN LLC
   Merked, Douglas S.                             1:19-cv-04903    FLINT COOPER, LLC
   Bell, April                                    1:19-cv-04942    JOHNSON LAW GROUP
   Clark, Adeline                                 1:19-cv-04944    MCSWEENEY LANGEVIN LLC
   Benoit, Geraldean Mary                         1:19-cv-04956    MCSWEENEY LANGEVIN LLC
   Neal, Mary V.                                  1:19-cv-04960    FLINT COOPER, LLC
   Kallabat, Majed                                1:19-cv-05019    MCSWEENEY LANGEVIN LLC
   Pongetti, Dolores                              1:19-cv-05069    JOHNSON LAW GROUP
   Caldwell, Jacqueline G.                        1:20-cv-00013    FLINT COOPER, LLC
   Hall, Brenden J.                               1:20-cv-00021    FLINT COOPER, LLC
   Steely, Carol                                  1:20-cv-00067    JOHNSON LAW GROUP
   Johnson, Jahmel and Shauntae                   1:20-cv-001187   WILLIAMS LAW GROUP, LLC
   Wild, Jill                                     1:20-cv-00257    JOHNSON LAW GROUP
   *Wright, Martin                                1:20-cv-00293    JOHNSON LAW GROUP
   Smith, Ronald (OH)                             1:20-cv-00308    JOHNSON LAW GROUP
   Valdovinos, Juana                              1:20-cv-00327    JOHNSON LAW GROUP
   Davis, Robert                                  1:20-cv-00338    JOHNSON LAW GROUP
   Marks, Jamie                                   1:20-cv-00340    JOHNSON LAW GROUP
   Spiek, Thomas [ESTATE] & Brenda                1:20-cv-00399    FLINT COOPER, LLC
   Stanback, Peggie and Vonnie                    1:20-cv-00409    FLINT COOPER, LLC
   Fanning, William and Jill                      1:20-cv-00452    FLINT COOPER, LLC
   Cruz, Juanita                                  1:20-cv-00453    MCSWEENEY LANGEVIN LLC
   Dixon, LaDawn                                  1:20-cv-00702    MCSWEENEY LANGEVIN LLC
   Yanez, Sandra                                  1:20-cv-00739    MCSWEENEY LANGEVIN LLC
   Lego, Roy                                      1:20-cv-00860    MCSWEENEY LANGEVIN LLC
   Carroll, Sheila                                1:20-cv-00922    JOHNSON LAW GROUP
   Charles, Edda                                  1:20-cv-00933    MCSWEENEY LANGEVIN LLC
   Benn, James                                    1:20-cv-01133    JOHNSON LAW GROUP
   Davis, Mike                                    1:20-cv-01139    JOHNSON LAW GROUP
   Drew, Lorin                                    1:20-cv-01183    WILLIAMS LAW GROUP, LLC
   Ratliff, Reginald                              1:20-cv-01184    FLINT COOPER, LLC
   McFall, Deborah [BANKRUPTCY ESTATE]            1:20-cv-01226    JOHNSON LAW GROUP
   Dodge, Alexandra [ESTATE OF]                   1:20-cv-01568    JOHNSON LAW GROUP
   Gilbert, Christina                             1:20-cv-02937    JOHNSON LAW GROUP
   Brown, Aleta                                   1:20-cv-03229    JOHNSON LAW GROUP
   Corvera, Eduardo                               1:20-cv-06250    JOHNSON LAW GROUP
   Spight, Perry                                  1:20-cv-06257    FLINT COOPER, LLC


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   *Case was closed prior to the issuance of this order
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  Exhibit A

   Wessing, Kelly                                 1:20-cv-06271    JOHNSON LAW GROUP
   *Ybarra, Rachel                                1:20-cv-06294    JOHNSON LAW GROUP
   Nemetz, Brenda                                 1:21-cv-00126    FERRER POIROT &
                                                                   WANSBROUGH
   Brown, Marla                                   1:21-cv-00315    JOHNSON LAW GROUP
   *Bittle, Jamie                                 1:21-cv-00476    JOHNSON LAW GROUP
   Reynolds, Bryon                                1:21-cv-00553    JOHNSON LAW GROUP
   Noriega, Mary                                  1:21-cv-00874    JOHNSON LAW GROUP
   Brant, Karen                                   1:21-cv-01084    JOHNSON LAW GROUP
   *Kauffman, Joann                               1:21-cv-01125    JOHNSON LAW GROUP
   Forney, Jerold                                 1:21-cv-01126    JOHNSON LAW GROUP
   Mancillas, Daniel                              1:21-cv-01246    JOHNSON LAW GROUP
   Wright, Wendell                                1:21-cv-01407    JOHNSON LAW GROUP
   Sligh, Sonja                                   1:21-cv-01540    JOHNSON LAW GROUP
   Grant, Pamela                                  1:21-cv-01939    JOHNSON LAW GROUP
   Wesner, Jonathan                               1:21-cv-01960    JOHNSON LAW GROUP
   Faucher, Denise                                1:21-cv-02345    JOHNSON LAW GROUP
   Dearing, William                               1:21-cv-02766    JOHNSON LAW GROUP
   Myers, Donald                                  1:21-cv-02930    JOHNSON LAW GROUP
   Ramirez, Frederick                             1:21-cv-06376    JOHNSON LAW GROUP
   Kendrick, Diane                                1:21-cv-06398    JOHNSON LAW GROUP
   Wardley, Abbie                                 1:21-cv-06502    FLINT COOPER, LLC
   Mustafa, Warda                                 1:21-cv-06566    JOHNSON LAW GROUP
   Thomas, Jacqueline                             1:22-cv-01848    JOHNSON LAW GROUP
   Rodriguez, Josefina                            1:22-cv-01923    JOHNSON LAW GROUP
   Richardson, Diane                              1:22-cv-01985    JOHNSON LAW GROUP
   Hendricks, Trevor                              1:22-cv-06853    FLINT COOPER, LLC
   Nase, Fay                                      1:22-cv-06876    FLINT COOPER, LLC
   Sartin, Sherida                                1:22-cv-06906    FLINT COOPER, LLC
   Showers, Michael (ESTATE OF)                   1:22-cv-06910    FLINT COOPER, LLC
   Higgins, Diana                                 1:22-cv-06919    JOHNSON LAW GROUP
   Musgrove, Shannon                              1:22-cv-06928    FLINT COOPER, LLC
   Tancredi, Charles                              1:23-cv-00808    JOHNSON LAW GROUP
   Votra, Brett                                   1:23-cv-06950    JOHNSON LAW GROUP
   Clark, Willie D.                               1:23-cv-06953    MCSWEENEY LANGEVIN LLC
   Sinkular, Susan                                1:23-cv-06955    FLINT COOPER, LLC
   Herbert, John                                  1:23-cv-06970    FLINT COOPER, LLC
   Parker, Christina                              1:23-cv-06986    FLINT COOPER, LLC
   Dickey, Vicki                                  1:23-cv-06987    FLINT COOPER, LLC
   Goldberg, Shari                                1:23-cv-07002    JOHNSON LAW GROUP
   Ramirez, Irma                                  1:23-cv-07021    MCSWEENEY LANGEVIN LLC
   Graciani, Mario                                1:23-cv-07023    FLINT COOPER, LLC

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   Graham, Lillian               1:23-cv-07030   FLINT COOPER, LLC
   Hattabaugh, Charles           1:23-cv-07034   FLINT COOPER, LLC
   Price, Willie                 1:23-cv-07037   FLINT COOPER, LLC
   Sena, Alice and Joseph        1:23-cv-07048   FLINT COOPER, LLC
   Sykes, James                  1:23-cv-07080   FLINT COOPER, LLC
   Robertson, Scott W.           1:24-cv-00381   MCSWEENEY LANGEVIN LLC




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